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                     TRANSFERS TO COM EST ELEC Y/O FRANCHESKA ORTIZ BONNET
                                    Date               Payment Amount
                                 1/29/2014                  $2,000.00
                                 1/29/2014                 $16,500.00
                                 1/29/2014                 $35,000.00
                                 1/29/2014                $192,323.00
                                 1/31/2014                 $40,050.00
                                 2/20/2014                  $6,000.00
                                 2/20/2014                  $6,666.00
                                 3/17/2014                  $8,000.00
                                 4/11/2014                  $4,365.00
                                 5/19/2014                 $65,000.00
                                 6/18/2014                    $139.00
                                 6/18/2014                    $832.00
                                 8/1/2014                   $2,000.00
                                 8/1/2014                  $15,500.00
                                 8/1/2014                 $153,415.00
                                 8/1/2014                 $187,973.00
                                10/20/2014                  $2,010.00
                                10/20/2014                  $5,000.00
                                10/20/2014                  $1,139.00
                                12/12/2014                    $661.00
                                 1/13/2015                 $15,000.00
                                 1/27/2015                  $5,300.00
                                 1/27/2015                 $17,846.00
                                 1/27/2015                $223,125.00
                                 2/5/2015                 $120,000.00
                                 3/19/2015                  $2,000.00
                                 4/27/2015                 $20,000.00
                                 5/12/2015                     $69.00
                                 5/12/2015                 $13,465.00
                                 6/15/2015                 $26,536.00
                                 6/17/2015                    $796.00
                                 7/24/2015                $203,166.00
                                 7/24/2015                  $2,000.00
                                 8/14/2015                $117,225.00
                                 8/25/2015                  $1,000.00
                                 9/10/2015                 $50,000.00
                                10/19/2015                  $1,000.00
                                10/23/2015                 $30,000.00
                                 1/25/2016                  $4,075.00
                                 2/1/2016                  $90,000.00
                                 2/18/2016                    $675.00
                                 2/18/2016                 $67,060.00
                                 2/18/2016                $136,174.00
                                 5/20/2016                  $5,000.00
                                 5/24/2016                 $51,329.00
                                 5/24/2016                $190,850.00

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                     TRANSFERS TO COM EST ELEC Y/O FRANCHESKA ORTIZ BONNET
                                    Date               Payment Amount
                                 8/2/2016                    $5,150.00
                                 8/2/2016                        $8.00
                                 8/9/2016                   $79,987.00
                                 8/9/2016                   $31,350.00
                                 8/9/2016                 $187,346.00
                                 9/19/2016                $879,152.00
                                 9/19/2016                  $26,660.00
                                10/27/2016               $2,806,000.00
                                 3/30/2017                   $4,000.00
                                 4/21/2017                $122,329.00




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